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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


RUTH SHALIT BARRETT,

                        Plaintiff,

                v.

THE ATLANTIC MONTHLY GROUP LLC and                                  Civil Action No.
DONALD CHRISTOPHER PECK,                                            1:22-cv-00049-EGS

                        Defendants.




            DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT

                                        INDEX OF EXHIBITS

Email from Ruth S. Barrett to Donald C. Peck (Oct. 30, 2020) ........................... Exhibit 1

Lisa DePaulo, The Truth About Ruth, George (Feb./Mar. 1996) .......................... Exhibit 2




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